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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                  CASE:

  FABIOLA MUNOZ,

              Plaintiff,
  v.

  SOUTH FLORIDA FAIR AND PALM
  BEACH COUNTY EXPOSITIONS, INC.,
  and LIVE NATION WORLDWIDE, INC.
  d/b/a ITHINK FINANCIAL
  AMPHITHEATRE,

          Defendants.
  ______________________________________/

                                              COMPLAINT

         Plaintiff, FABIOLA MUNOZ, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues SOUTH FLORIDA FAIR AND

  PALM BEACH COUNTY EXPOSITIONS, INC., and LIVE NATION WORLDWIDE, INC.

  d/b/a ITHINK FINANCIAL AMPHITHEATRE (hereinafter “Defendants”), and as grounds

  alleges:

                               JURISDICTION, PARTIES, AND VENUE

         1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and 2202,

  and may render declaratory judgment on the existence or nonexistence of any right under 42 U.S.C.
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  § 12181, et seq.

         4.      Plaintiff, FABIOLA MUNOZ, is an individual over eighteen (18) years of age, with

  a residence in Miami-Dade County, Florida, and is otherwise sui juris.

         5.      At all times material, Defendant, SOUTH FLORIDA FAIR AND PALM BEACH

  COUNTY EXPOSITIONS, INC., owned and operated an amphitheater at 601-7 Sansbury Way

  West Palm Beach, Florida 33411 (hereinafter the “Commercial Property”) and conducted a

  substantial amount of business in the place of public accommodation in Palm Beach County,

  Florida.

         6.      At all times material, Defendant, SOUTH FLORIDA FAIR AND PALM BEACH

  COUNTY EXPOSITIONS, INC., was a Florida Profit Corporation, organized under the laws of

  the State of Florida, with its principal place of business in West Palm Beach, Florida.

         7.      At all times material, Defendant, LIVE NATION WORLDWIDE, INC., owned and

  operated an amphitheater at 601-7 Sansbury Way West Palm Beach, Florida 33411 (hereinafter

  the “Commercial Property”) and conducted a substantial amount of business in the place of public

  accommodation in Palm Beach County, Florida.

         8.      At all times material, Defendant, LIVE NATION WORLDWIDE, INC., was a

  Delaware Profit Corporation, organized under the laws of the State of Delaware, with its principal

  place of business in Beverly Hills, California. Defendant, LIVE NATION WORLDWIDE, INC.,

  holds itself out to the public as “IThink Financial Amphitheatre.”

         9.          Venue is properly located in the Southern District of Florida because Defendants’

  Commercial Property is located in Palm Beach County, Florida, Defendants regularly conduct

  business within West Palm Beach, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in West Palm Beach, Florida.



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                                     FACTUAL ALLEGATIONS

         10.     Although over twenty-nine (29) years have passed since the effective date of Title

  III of the ADA, Defendants have yet to make its facilities accessible to individuals with disabilities.

         11.     Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

  publicity the ADA has received since 1990, Defendants continue to discriminate against people

  who are disabled in ways that block them from access and use of Defendants’ businesses and

  properties.

         12.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance.

         13.     Plaintiff, FABIOLA MUNOZ, is an individual with disabilities as defined by and

  pursuant to the ADA. FABIOLA MUNOZ uses a wheelchair to ambulate. FABIOLA MUNOZ is

  a paraplegic with a fracture of her T-12 that causes loss of use to her lower extremities. She is

  limited in her major life activities by such, including but not limited to walking and standing.

         14.     Defendant, SOUTH FLORIDA FAIR AND PALM BEACH COUNTY

  EXPOSITIONS, INC., owns, operates and oversees the Commercial Property, its general parking

  lot and parking spot.

         15.     The subject Commercial Property is open to the public and is located in Palm

  Beach, Florida.

         16.     The individual Plaintiff visited the Commercial Property and business located

  within the Commercial Property to include a visit to the Commercial Property and business located

  within the Commercial Property on or about October 11, 2021 to attend the Lobos Garbage Concert

  and November 20, 2021 to attend the Chris Appleton Concert, encountering multiples ADA



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  violations that directly affected her ability to use and enjoy the Commercial Property and the

  business located therein. She often visits the Commercial Property in order to avail herself of the

  goods and services offered there, and because it is approximately seventy (70) miles from her

  residence. She plans to return to the Commercial Property and the business located therein within

  two (2) months from the filing date of the complaint. More specifically Plaintiff intends to revisit

  on or before March 5, 2022.

         17.     Plaintiff resides in the same state as the Commercial Property and the business

  located within the Commercial Property, has frequented the Defendants’ Commercial Property and

  the business located within the Commercial Property for the intended purposes of attending

  concerts and events that she frequents as a patron/invitee, and intends to return to the Commercial

  Property and the business located within the Commercial Property within two (2) months from the

  filing of this Complaint. Specifically, Plaintiff intends to revisit on or before March 5, 2022.

         18.     The Plaintiff found the Commercial Property, and the business located within the

  Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and businesses located within the Commercial Property and

  wishes to continue her patronage and use of the commercial premise and business located therein.

         19.     The Plaintiff has encountered architectural barriers that are in violation of the ADA

  at the subject Commercial Property, and the business located within the Commercial Property. The

  barriers to access at Defendants’ Commercial Property, and the business located within the

  Commercial Property have denied or diminished Plaintiff’s ability to visit the Commercial

  Property, and business located within the Commercial Property, and have endangered her safety

  in violation of the ADA. The barriers to access, which are set forth below, have likewise posed a

  risk of injury(ies), embarrassment, and discomfort to Plaintiff, FABIOLA MUNOZ, and others



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  similarly situated.

           20.   Defendants, SOUTH FLORIDA FAIR AND PALM BEACH COUNTY

  EXPOSITIONS, INC., and LIVE NATION WORLDWIDE, INC. d/b/a ITHINK FINANCIAL

  AMPHITHEATRE., own and operate a place of public accommodation as defined by the ADA

  and the regulations implementing the ADA, 28 CFR 36.201 (a) and 36.104. Defendants, SOUTH

  FLORIDA FAIR AND PALM BEACH COUNTY EXPOSITIONS, INC., and LIVE NATION

  WORLDWIDE, INC. d/b/a ITHINK FINANCIAL AMPHITHEATRE., are responsible for

  complying with the obligations of the ADA. Defendant, LIVE NATION WORLDWIDE, INC.,

  own and operate a business and place of public accommodation as defined by the ADA and the

  regulations implementing the ADA, 28 CFR 36.201 (a) and 36.104. The place of public

  accommodation that Defendants, SOUTH FLORIDA FAIR AND PALM BEACH COUNTY

  EXPOSITIONS, INC., and LIVE NATION WORLDWIDE, INC. d/b/a ITHINK FINANCIAL

  AMPHITHEATRE, own and operate is located at 601-7 Sansbury Way West Palm Beach, Florida

  33411.

           21.   Plaintiff, FABIOLA MUNOZ, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and the business located within the Commercial Property,

  including but not necessarily limited to the allegations in Count I of this Complaint. Plaintiff has

  reasonable grounds to believe that she will continue to be subjected to discrimination at the

  Commercial Property, and businesses located within the Commercial Property, in violation of the

  ADA. Plaintiff desires to visit the Commercial Property and business located therein, not only to

  avail herself of the goods and services available at the Commercial Property, and business located

  within the Commercial Property, but to assure herself that the Commercial Property and business



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  located within the Commercial Property are in compliance with the ADA, so that she and others

  similarly situated will have full and equal enjoyment of the Commercial Property, and business

  located within the Commercial Property without fear of discrimination.

         22.      Defendant, SOUTH FLORIDA FAIR AND PALM BEACH COUNTY

  EXPOSITIONS, INC., as landlord and owner of the Commercial Property, LIVE NATION

  WORLDWIDE, INC. d/b/a ITHINK FINANCIAL AMPHITHEATRE, as tenant and owner and

  operator of the business, are jointly and severally responsible and liable for all ADA violations

  listed in this Complaint.

         23.      Defendants have discriminated against the individual Plaintiff by denying her

  access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

  and/or accommodations of the Commercial Property, and businesses located within the

  Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

               COUNT I – ADA VIOLATIONS IN COMMON AREAS
   AS TO SOUTH FLORIDA FAIR AND PALM BEACH COUNTY EXPOSITIONS, INC.

         24.      The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  23 above as though fully set forth herein.

         25.      Defendant, SOUTH FLORIDA FAIR AND PALM BEACH COUNTY

  EXPOSITIONS, INC., has discriminated, and continue to discriminate, against Plaintiff in

  violation of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or

  January 26, 1993, if a Defendant has 10 or fewer employees and gross receipts of $500,000 or

  less). A list of the violations that Plaintiff encountered during her visit to the Commercial Property,

  include but are not limited to, the following:

               A. Parking Lot and Accessible Route

 i. Accessible spaces lack clear and level aisles, they have slopes or cross slope of changes in


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    level (>2%) endangering Plaintiff when unloading and violating the ADAAG and ADAS

    Section 502.

               B. Entrance Access and Path of Travel

 i. Accessible routes at Commercial property have cross slopes (>2%) creating hazardous

    conditions for Plaintiff in violation of ADAAG Section 4.3 and Sections 402 and 403 of 2010

    ADAS.

ii. Accessible routes at Commercial Property have changes in level of (>3/4”) creating hazardous

    conditions for Plaintiff violating ADAAG Section 4.3 and Sections 402 and 403 of the 2010

    ADAS.

                        COUNT II – ADA VIOLATIONS
   AS TO SOUTH FLORIDA FAIR AND PALM BEACH COUNTY EXPOSITIONS, INC.,
                    and LIVE NATION WORLDWIDE, INC.

         26.       The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  23 above as though fully set forth herein.

         27.       Defendants, SOUTH FLORIDA FAIR AND PALM BEACH COUNTY

  EXPOSITIONS, INC., and LIVE NATION WORLDWIDE, INC. d/b/a ITHINK FINANCIAL

  AMPHITHEATRE, have discriminated, and continue to discriminate, against Plaintiff in violation

  of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or January 26,

  1993, if a Defendant has 10 or fewer employees and gross receipts of $500,000 or less). A list of

  the violations that Plaintiff encountered during her visit to the Commercial Property, include but

  are not limited to, the following:

         A. Access to Goods and Services

 i. Counters are in excess of 36”, preventing Plaintiff from using, in violation of Section 7.2 (1) of

    the ADAAG.

ii. Aisles, hallways and corridors at Commercial Property have abrupt vertical changes of cross

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     slopes >2% (1/4” max), endangering Plaintiff.

 iii. Aisles, hallways and corridors have slopes of (5% max), creating hazardous conditions for

     Plaintiff.

 iv. Aisles, hallways and corridors have ramps with slopes (1/12 max), creating hazardous conditions

     for Plaintiff.

 v. Aisles, hallways and corridors have ramps without proper handrails or landings, endangering

     Plaintiff.

                  B. Public Restrooms

  i. Plaintiff unable to use mirror due to bottom-reflecting surface, violating the ADAAG and 2010

     ADAS.

 ii. Plaintiff is unable to reach dispenser controls (48” AFF max), which exceeds limits in ADAAG

     and 2010 AAS Sec. 308.

 iii. Stall door is not self-closing and/or lacks proper hardware, preventing use by the Plaintiff,

     violating 2010 ADAS Sec. 604.

 iv. Grab bars do not comply with the ADAAG and 2010 ADAS Sections 604 and 609, creating a

     hazardous condition for Plaintiff.

 v. Mounted items above grab bar (12” min), prevent use by Plaintiff, violating the ADAAG and

     2010 ADAS.

 vi. Toilet has improper centerline from side wall; (16” to 18”), denying access to Plaintiff,

     violating the 2010 ADAS.

vii. Toilet flush valve not mounted on wide side, denying access to Plaintiff, violating the ADAAG

     and 2010 ADAS Sec. 604

viii. Amenities provided do not comply with the requirements of the ADAAG and 2010 ADAS,



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   preventing Plaintiff from using them.


                                RELIEF SOUGHT AND THE BASIS

         28.     The discriminatory violations described in Counts I and II of this Complaint are not

  an exclusive list of the Defendants’ ADA violations. Plaintiff requests an inspection of the

  Defendants’ places of public accommodation in order to photograph and measure all of the

  discriminatory acts violating the ADA and barriers to access in conjunction with Rule 34 and

  timely notice. Plaintiff further requests to inspect any and all barriers to access that were concealed

  by virtue of the barriers' presence, which prevented Plaintiff, FABIOLA MUNOZ, from further

  ingress, use, and equal enjoyment of the Commercial Business and businesses located within the

  Commercial Property; Plaintiff requests to be physically present at such inspection in conjunction

  with Rule 34 and timely notice. A complete list of the Subject Premises’ ADA violations, and the

  remedial measures necessary to remove same, will require an on-site inspection by Plaintiff’s

  representatives pursuant to Federal Rule of Civil Procedure 34.

         29.     The individual Plaintiff, and all other individuals similarly situated, have been

  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendants, Defendants’ building(s),

  businesses and facilities; and has otherwise been discriminated against and damaged by the

  Defendants because of the Defendants’ ADA violations as set forth above. The individual

  Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of public

  accommodation in order to determine all of the areas of non-compliance with the Americans with

  Disabilities Act.


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         30.      Defendants have discriminated against the individual Plaintiff by denying her

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendants continue to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

  disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

  with a disability is excluded, denied services, segregated or otherwise treated differently than other

  individuals because of the absence of auxiliary aids and services.

         31.      Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

  clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

  those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled

  to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

  12205 and 28 CFR 36.505.

         32.      Defendants are required to remove the existing architectural barriers to the

  physically disabled when such removal is readily achievable for their place of public

  accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

  Defendants’ place of public accommodation in order to determine all of the areas of non-

  compliance with the Americans with Disabilities Act.

         33.      Notice to Defendants is not required as a result of the Defendants’ failure to cure



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  the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

  and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

  or waived by the Defendants.

         34.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to alter the property where Defendants operates its

  businesses, located at and/or within the commercial property located at 4751 Palm Avenue,

  Hialeah, Florida 33012, the exterior areas, and the common exterior areas of the Commercial

  Property and businesses located within the Commercial Property, to make those facilities readily

  accessible and useable to the Plaintiff and all other mobility-impaired persons; or by closing the

  facility until such time as the Defendants cure the violations of the ADA.

                 WHEREFORE, The Plaintiff, FABIOLA MUNOZ, respectfully requests that this

  Honorable Court issue (i) a Declaratory Judgment determining Defendants at the commencement

  of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,

  42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants including an order to make all

  readily achievable alterations to the facilities; or to make such facilities readily accessible to and

  usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

  to make reasonable modifications in policies, practices or procedures, when such modifications

  are necessary to afford all offered goods, services, facilities, privileges, advantages or

  accommodations to individuals with disabilities; and by failing to take such steps that may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated or

  otherwise treated differently than other individuals because of the absence of auxiliary aids and

  services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

  12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under



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  Title III of the Americans with Disabilities Act.

  Dated: January 7, 2022.


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                                                By: ___/s/_Anthony J. Perez________
                                                       ANTHONY J. PEREZ
                                                       BEVERLY VIRUES




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